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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

UNITED STATES OF AMERICA

      VS                                                   CASE NO. 3:07CR57/MCR

KEVIN SCOTT CONWAY

                              REFERRAL AND ORDER

Referred to Judge M. Casey Rodgers on December 7, 2007
Motion/Pleadings: UNOPPOSED MOTION TO OBTAIN PSR
Filed byDefendant                        on              Doc.# 290
RESPONSES:
                                         on              Doc.#
                                         on              Doc.#
        Stipulated           Joint Pldg.
 X      Unopposed            Consented
                                         WILLIAM M. McCOOL, CLERK OF COURT

                                          s/ Katherine V. Goodman
                                          Deputy Clerk: Katherine V. Goodman

                                        ORDER
      Upon   consideration   of   the   foregoing,   it   is   ORDERED   this   10th   day   of
December, 2007, that:
      The relief requested is GRANTED.




                                            s/   M. Casey Rodgers
                                                        M. Casey Rodgers
                                                  United States District Judge
